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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF OREGON
                                   PORTLAND DIVISION



                                                                   {to be assigned by Clerk of the Court}
(Enter full name of plaintiff(s))
                                                                   COMPLAINT
                  Plaintiff(s),
                                                                  ~Trial         Demanded
         v.                                                       ~Yes              0No
c,-\-~ " \ f" r\ \.-t-v> ""

 (Enter full name of ALL defendant(s))


                  Defendant(s).




                                             I. PARTIES

       List your name, address, and telephone number below, and the same information for each
defendant. Make sure that the defendant(s) listed below are identical to those contained in the
caption of the complaint. Attach additional sheets ofpaper if necessary.


Plaintiff                  Name:
                                       , . G · \o
                                    D()'ol>j                   ~6-


                           Street Address:     ""- b Vh -L \. e ~ <; .
                           City, State & Zip Code:    ~Dr '\\...-"'""" CX:::::
                           Telephone No.     3 b 0 """ '15 6 - G(o CJ t.-\



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,.

     Defendant No.1
                              Street Address:
                                                --------~--~------~---------


                              City, State & Zip Code:     Qov T ~CA..   V\   J_ 0 'l (.f) C'> ~
                              Telephone No.


     Defendant No.2           Name:    S~OL '\ L        o~
                              Street Address: -------------------------------
                              City, State & Zip Code:   5 v... \ ~ """'- I 0 f e )   6 "-"

                              Telephone No.


     Defendant No. 3          Name:
                                      -------------------------------------
                              Street Address:
                                              -------------------------------
                              City, State & Zip Code: - - - - - - - - - - - -
                              Telephone No.


     Defendant No. 4          Name:
                                      -------------------------------------
                              Street Address:
                                              -------------------------------
                              City, State & Zip Code: - - - - - - - - - - - -
                              Telephone No.


                                                II. JURISDICTION

             Federal courts are courts oflimitedjurisdiction. Only two types of cases can be heard in
     federal court: cases involving a federal question and cases involving diversity ofcitizenship of the
     parties. A case involving the United States Constitution or federal laws or treaties is a federal
     question case. A case in which a citizen ofone state sues a citizen ofanother state and the amount
      in damages claimed is more than $75,000 is a diversity of citizenship case.

     A.      What is the basis for federal court jurisdiction (check all that apply)

            ~Federal Question                        D Diversity of Citizenship


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    B.     If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory, or
           treaty right is at issue?        \.
     \15'!.~-41\c...  \-    .   c.-~"'"' t- ~ )Sc.-~~i) \ >c~ 11'1 c t(A.,.1 1::, Ac.: -<?..- ~.
-
    C.     If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each
           party?

           Plaintiff(s)stateofcitizenship _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           Defendant(s) state(s) ofcitizenship _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



                                    III. STATEMENT OF CLAIMS

                                                    Claim I

           State here as briefly as possible the [acts ofyour case. Describe how each defendant was
    involved, when the conduct occurred, and any injuries you have suffered as a result. It is not
    necessary to give any legal arguments or cite any cases or statutes.
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                                                                    Claim II

       State here as briefly as possible the facts ofyour case. Describe how each defendant was
involved, when the conduct occurred, and any injuries you have suffered as a result. It is not
necessary to give any legal arguments or cite any cases or statutes.




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'10-...__,i£____:::..;._..!-..Lo"'--"~'---~=-=:.._:..__,_=....:...-=......rr---''-'-==-"'--".......---=---"--"~----''t----~~"-'-::....::.-,c::.._~('.~V J   I   c..~   <;




                                                                    Claim III

               State here as briefly as possible the facts ofyour case. Describe how each defendant
was involved, when the conduct occurred, and any injuries you have suffered as a result. It is not
necessary to give any legal arguments or cite any cases or statutes.




 (Ifyou have additional claims, describe them on another piece ofpaper, using the same outline.)


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                                          IV.     RELIEF




'II)
        I declare under penalty of peijury that the foregoing is true and correct.

        Signed this   \l   day of \) tC<-e VI--   \oe_v         '20 \~




                                                (Signature of Plaintiff(s))




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